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            1    GIBSON, DUNN & CRUTCHER LLP                    GIBSON, DUNN & CRUTCHER LLP
                 Orin Snyder (pro hac vice)                     Deborah Stein (SBN 224570)
            2      osnyder@gibsondunn.com                         dstein@gibsondunn.com
                 200 Park Avenue                                333 South Grand Avenue
            3    New York, NY 10166-0193                        Los Angeles, CA 90071-3197
                 Telephone: 212.351.4000                        Telephone: 213.229.7000
            4    Facsimile: 212.351.4035                        Facsimile: 213.229.7520
            5    Kristin A. Linsley (SBN 154148)                Joshua S. Lipshutz (SBN 242557)
                   klinsley@gibsondunn.com                        jlipshutz@gibsondunn.com
            6    Martie Kutscher (SBN 302650)                   1050 Connecticut Avenue, N.W.
                   mkutscherclark@gibsondunn.com                Washington, DC 20036-5306
            7    555 Mission Street, Suite 3000                 Telephone: 202.955.8500
                 San Francisco, CA 94105-0921                   Facsimile: 202.467.0539
            8    Telephone: 415.393.8200
                 Facsimile: 415.393.8306
            9
                 Attorneys for Defendant Facebook, Inc.,
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          11                                   UNITED STATES DISTRICT COURT
          12                                 NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION
          13

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          15     IN RE: FACEBOOK, INC. CONSUMER                     CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
          16                                                        [PROPOSED] ORDER GRANTING
                                                                    FACEBOOK, INC.’S ADMINISTRATIVE
          17     This document relates to:                          MOTION TO FILE UNDER SEAL
                                                                    CERTAIN EXHIBITS IN SUPPORT OF
          18     ALL ACTIONS                                        OPPOSITION OF FACEBOOK, GIBSON
          19                                                        DUNN & CRUTCHER, AND ORIN
                                                                    SNYDER TO PLAINTIFFS’ MOTION
          20                                                        FOR SANCTIONS

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Gibson, Dunn &
Crutcher LLP
                                                       [PROPOSED] ORDER
                                                     CASE NO. 3:18-MD-02843-VC
                      Case 3:18-md-02843-VC Document 910-2 Filed 04/11/22 Page 2 of 2


            1                                           [PROPOSED] ORDER

            2           The Court has considered Facebook, Inc.’s (“Facebook”) Declaration of Russell H. Falconer

            3    (Dkt. 910-1) In Support of Facebook’s Administrative Motion To File Under Seal Certain Exhibits in

            4    Support of Opposition of Facebook, Gibson Dunn & Crutcher, and Orin Snyder to Plaintiffs’ Motion

            5    for Sanctions (Dkt. 910), which seeks to seal limited portions of the exhibits in support of the

            6    Opposition that reveal Facebook confidential information. Good cause having been shown,

            7    Facebook’s Administrative Motion To File Under Seal is GRANTED. The Court hereby ORDERS:

            8           1.      The redacted version of Exhibits 7-9, 20, 22-23, 25-26, 29, 32, 35-36, 38, 41, attached
                                to the Stein Declaration and to the Falconer Declaration In Support Of Facebook’s Ad-
            9                   ministrative Motion To File Under Seal Certain Exhibits in Support of Opposition of
                                Facebook, Gibson Dunn & Crutcher, and Orin Snyder to Plaintiffs’ Motion for Sanc-
          10                    tions, shall be filed on the public docket.
          11            2.      The unredacted version of Exhibits 7-9, 20, 22-23, 25-26, 29, 32, 35-36, 38, 41, at-
                                tached to the Falconer Declaration In Support Of Facebook’s Administrative Motion
          12                    To File Under Seal Certain Exhibits in Support of Opposition of Facebook, Gibson
                                Dunn & Crutcher, and Orin Snyder to Plaintiffs’ Motion for Sanctions, shall be filed
          13                    permanently under seal.
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          15     IT IS SO ORDERED.
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          17     DATE: ____________________                            ___________________________________
                                                                       HON. VINCE CHHABRIA
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                                                                       United States Magistrate Judge
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Gibson, Dunn &
Crutcher LLP
                                                          [PROPOSED] ORDER
                                                        CASE NO. 3:18-MD-02843-VC
